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 1    KEVIN A. DARBY, NVSB# 7670
      TRICIA M. DARBY, NVSB# 7959
 2    DARBY LAW PRACTICE, LTD.
 3    4777 Caughlin Parkway
      Reno, Nevada 89519
 4    Telephone: 775.322.1237
      Facsimile: 775.996.7290
 5
      kad@darbylawpractice.com
 6    tricia@darbylawpractice.com
      Attorneys for Debtor/Debtor in Possession
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 8
                                 UNITED STATES BANKRUPTCY COURT
 9                                      DISTRICT OF NEVADA
10
      In re:                                               CASE NO.:     BK-N-20-50471-BTB
11                                                         Chapter 11 Subchapter V
      ALY EATERY, INC,
12                                                         MOTION FOR ORDER AUTHORIZING
                                                           DEBTOR TO CONTINUE USING
13                                                         EXISTING BANK ACCOUNT
                         Debtors.
14                                                         Hearing Date: June 17, 2020
      ______________________________________/              Hearing Time: 2:00 p.m.
15
16             Debtor and Debtor in Possession, ALY EATERY, INC., hereby moves this Court for an
17   order authorizing the Debtor to continue using its existing bank accounts and waive the
18   requirement that Debtor maintain a specifically designated debtor-in-possession account (the
19   “Motion”). This Motion is made pursuant to 11 U.S.C. §§ 105, 345 and 363, supported by the
20   Declarations of Alicia Youngberg and Kevin Darby, Esq., and is based on the following points and
21   authorities.
22                                      POINTS AND AUTHORITIES
23             1.   On May 4, 2020, Debtor filed a voluntary petition for relief under Subchapter 5 of
24   Chapter 11 of the Bankruptcy Code (the “Petition Date”).
25             2.   Debtor owns and operates a Subway Sandwiches franchise restaurant in Reno,
26   Nevada.
27             3.   The franchisor for Subway Sandwiches is Doctor’s Associates, Inc. (“DAI”).
28   Debtor’s Franchise Agreement with DAI obligates Debtor to pay DAI: (1) royalty payments in the
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 1   amount of 8% of the Debtor’s gross sales; and (2) contributions to the Subway Franchise
 2   Advertising Fund Trust in the amount of 4.5% of gross sales. DAI is entitled to direct access to
 3   Debtor’s bank account to take the 12.5% if Debtor’s gross sales directly from Debtor’s bank
 4   account on a weekly basis.
 5           4.   Debtor maintains one business bank account at Bank of America, N.A. (“Debtor’s
 6   Bank Account”).
 7           5.   The Office of the United States Trustee has established certain operating guidelines
 8   for debtors-in-possession in order to supervise the administration of Chapter 11 cases. These
 9   guidelines require a Chapter 11 debtor, among other things, to close all existing bank accounts and
10   open new debtor-in-possession bank accounts and obtain checks for all debtor-in-possession
11   accounts bearing the designation “Debtor-in- Possession,” the bankruptcy case number, and the
12   type of accounts.
13           6.   Debtor is informed and believes that the primary purpose of the debtor-in-possession
14   bank account requirement is to provide deposit insurance coverage in excess of maximum deposits
15   insured by the Federal Deposit Insurance Corporation (“FDIC”) coverage limits. FDIC insurance
16   covers deposits up to $250,000.00. See www.fdic.gov/deposit/deposits/faq.
17           7.   The balance of Debtor’s Bank Account has never exceeded $250,000.00, and it is
18   highly unlikely the account balance will reach $250,000.00 during the pendency of this case.
19           8.   After filing this case Debtor’s Counsel contacted Bank of America, using the contact
20   information provided by the Office of the United States Trustee, to inquire about having debtor-in-
21   possession coverage added to Debtor’s Bank Account. Bank of America declined and explained:
22                Please be advised Bank of America is still listed on the approved Banking
                  List with the EOUST for Debtor in Possession relationships. However, only
23                clients with an existing Commercial Banking relationship with an
24                assigned banker will be serviced. We will not open or service any Debtor in
                  Possession account for a consumer or small business relationship, whether an
25                existing client of Bank of America’s or not.
26   See Declaration of Kevin A. Darby, Exhibit 1.

27           9.   The Debtor seeks a waiver of the United States Trustee’s requirement that the

28   prepetition Bank Accounts be closed and that new post-petition “debtor-in-possession” accounts be




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 1   opened. If enforced in this case, that requirement would cause unnecessary disruption in the
 2   Debtor’s business and would cause the estate unnecessary expense for no benefit. At the same
 3   time, the requirement provides no benefit or protection to any interested party. The standard FDIC
 4   insurance coverage is more than adequate to protect the deposits in Debtor’s Bank Account.
 5           10. Given the fact this is a Subchapter V case, Debtor will be a debtor-in-possession for
 6   only a very limited period of time. Debtor is required to file a plan of reorganization by no later
 7   than August 3, 2020. See 11 U.S.C. §1189(b). The time, burden and expense required for Debtor
 8   to convert to a new bank account is not reasonable or warranted in light of Debtor’s statutorily
 9   deemed short time as a debtor-in-possession.
10           11. The Debtor’s Bank Account is already located at a United States Trustee-authorized
11   depository institution, Bank of America, N.A. The existing account will serve the needs of the
12   estate and the United States Trustee more than adequately. Therefore, good cause exists for this
13   Court to authorize the Debtor’s continued post-petition use of Debtor’s Bank Account.
14           DATED this 20th day of May, 2020.
15                                                  DARBY LAW PRACTICE, LTD.

16                                                     /s/ Kevin A. Darby
                                                    ______________________________
17                                                  KEVIN A. DARBY, ESQ.
18                                                  Attorneys for Aly Eatery, Inc.

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